     Case 5:18-cv-00001-MFU Document 1 Filed 01/03/18 Page 1 of 22 Pageid#: 1




                      IN THE UNITED STATES DISTRICT COURT                     1/3/2018

                     FOR THE WESTERN DISTRICT OF VIRGINIA
                            HARRISONBURG DIVISION
                                                                          S/J.Vasquez



CARY HIXSON,                                   )
                                               )
        Plaintiff,                             )
                                               )
v.                                             )
                                               )    Civil Action No. _____________
                                                                     5:18-cv-00001

KATHERINE RAYNES,                              )
a nurse and employee of                        )
Southern Health Partners, Inc.,                )
                                               )
and                                            )
                                               )
JANELLE SEEKFORD,                              )    JURY TRIAL DEMANDED
a nurse and employee of                        )
Southern Health Partners, Inc.,                )
                                               )
        Defendants.                            )

                     COMPLAINT FOR MONETARY DAMAGES

        Plaintiff, Cary Hixson, files this Complaint in accordance with 42 U.S.C. §

1983 as the statutory vehicle to vindicate his rights under the Eighth and

Fourteenth Amendments of the U.S. Constitution, and pursuant to the

Constitution and laws of the Commonwealth of Virginia.

                                  INTRODUCTION

                                          1.

        When it comes to treating inmates that have medically diagnosed (and life-

threatening) illnesses, the staff of Harrisonburg-Rockingham Regional Jail



                                          1
  Case 5:18-cv-00001-MFU Document 1 Filed 01/03/18 Page 2 of 22 Pageid#: 2




(“HRRJ”) are simply inhumane. For example, Plaintiff, Mr. Hixson, is a medically

diagnosed diabetic. And at the time he entered HRRJ, medical staff knew that Mr.

Hixson was diabetic because he told them, and HRRJ staff verified his status as a

diabetic through medical records. Despite this knowledge, Defendants Nurses

Katherine “Laney” Raynes and Janelle Seekford never—not once—provided Mr.

Hixson with medically ordered and required insulin, or prescribed medication to

help control Mr. Hixson’s serious diabetes. As a result, Mr. Hixson suffered

excruciating pain throughout his feet, hands and legs, as well as experienced

blurred vision, ringing in his ears, on top of his vital organs slowly depreciating

in functionality—Defendants knew all this because Mr. Hixson told them about

his experience. In a desperate measure to assuage the negative effects of his

untreated diabetes while at HRRJ, Hixson would run in place furiously in his cell

for 15 to 30 minutes at a times trying to lower his blood sugar levels because he

didn’t receive his medication.

                                         2.

      In fact, for months, Defendants monitored Mr. Hixson’s fasting blood sugar

levels by drawing his blood in the morning—and despite Defendants seeing that

Mr. Hixson suffered from escalating, skyrocketing blood sugar levels in the

continuous, debilitating range of 160 to 407, Defendants refused to provide Mr.

Hixson with insulin or prescribe medication to control Mr. Hixson’s medically



                                         2
  Case 5:18-cv-00001-MFU Document 1 Filed 01/03/18 Page 3 of 22 Pageid#: 3




diagnosed problem. Making matters way worse, Raynes and Seekford threatened

Mr. Hixson with solitary confinement if he continued to complain about not

receiving his insulin or prescribed medication to treat his medically diagnosed

health condition.

                                        3.

      While Mr. Hixson was incarcerated at HRRJ, Defendants showed deliberate

indifference to Mr. Hixson’s diagnosed and serious medical need for his

prescribed insulin and other medication, which Plaintiff had been taking to treat

his medically diagnosed, serious diabetes. The host of evils perpetrated on Mr.

Hixson also include medical malpractice regarding his ignored and desperate

need for diabetic medication. By refusing to treat Mr. Hixson’s known, serious

medical condition, Defendants breached all duties of care owed to Mr. Hixson

regarding his health and wellbeing, utterly neglected Mr. Hixson’s safety, and

acted with reckless indifference to the consequences that their actions would

cause Mr. Hixson serious injury.

                         JURISDICTION AND VENUE

                                        4.

      Jurisdiction is proper under 28 U.S.C. §§ 1331 and 1343(a)(4), under 42

U.S.C. § 1983, and on the supplemental jurisdiction of this Court to adjudicate

claims arising under state law pursuant to 28 U.S.C. § 1367(a). Venue is proper



                                        3
  Case 5:18-cv-00001-MFU Document 1 Filed 01/03/18 Page 4 of 22 Pageid#: 4




under 28 U.S.C. § 1391(b) and L.R. 2 (b) because (1) a substantial part of the events

and omissions giving rise to Mr. Hixson’s claims occurred within this District and

Division and (2) Defendants reside and transact business in this District and

Division.

                       ADMINISTRATIVE EXHAUSTION

                                        5.

      Mr. Hixson is not incarcerated and thus does not have to show that

administrative remedies related to his claims have been exhausted.

                                     PARTIES

   A. Cary Hixson, Plaintiff
                                        6.

      Plaintiff Mr. Cary Hixson is aged 53, and currently not incarcerated. The

facts pertaining to his claims are outlined in the Relevant Facts Section and

Counts below.

   B. SHP Nurse Katherine Raynes, Defendant

                                        7.

      Defendants Nurse Katherine Raynes (“Nurse Raynes”), at all relevant

times, was a nurse employed by Southern Health Partners, Inc. (“SHP”) to

provide medical care to the inmates of HRRJ.




                                         4
  Case 5:18-cv-00001-MFU Document 1 Filed 01/03/18 Page 5 of 22 Pageid#: 5




                                        8.

      At all times relevant to this Complaint, Nurse Raynes was responsible for

ensuring that she knew all controlling law within the Fourth Circuit regarding

deliberate indifference to medical needs, breaching duties of care, complete

neglect of inmate safety, and willful and wanton negligent conduct, including the

Fourth Circuit Court of Appeals’ case law with respect to under-medicating

inmates and flat-out denying demonstrably required prescription medication to

inmates under Nurse Raynes’s care.

                                        9.

      At all times relevant to this Complaint, Nurse Raynes was acting under the

color of state and federal laws, she was responsible for knowing and acting in

accordance with all policies, procedures, orders, special orders, general orders,

guidelines and regulations in effect at HRRJ, while upholding her duties of care to

inmates at HRRJ.

   C. SHP Nurse Janelle Seekford, Defendant

                                        10.

      Defendant Nurse Janelle Seekford (“Nurse Seekford”), at all relevant times,

was a nurse employed by Southern Health Partners, Inc. (“SHP”) to provide

medical care to the inmates of HRRJ.




                                         5
  Case 5:18-cv-00001-MFU Document 1 Filed 01/03/18 Page 6 of 22 Pageid#: 6




                                        11.

      At all times relevant to this Complaint, Nurse Seekford was responsible for

ensuring that she knew all controlling law within the Fourth Circuit regarding

deliberate indifference to medical needs, breaching duties of care, complete

neglect of inmate safety, and willful and wanton negligent conduct, including the

Fourth Circuit Court of Appeals’ case law with respect to under-medicating

inmates and flat-out denying demonstrably required prescription medication to

inmates under Nurse Seekford’s care.

                                        12.

      At all times relevant to this Complaint, Nurse Seekford was acting under

the color of state and federal laws, she was responsible for knowing and acting in

accordance with all policies, procedures, orders, special orders, general orders,

guidelines and regulations in effect at HRRJ, while upholding her duties of care to

inmates at HRRJ.

                               RELEVANT FACTS

         A. Facts related to Mr. Hixson’s Blood Sugar readings and
            Defendants’ failure to provide him with his diabetic medication

                                        13.

      At all relevant times to this Complaint, Nurse Raynes was responsible for

providing medical care to the inmates of HRRJ, including Mr. Hixson.




                                         6
  Case 5:18-cv-00001-MFU Document 1 Filed 01/03/18 Page 7 of 22 Pageid#: 7




                                        14.

      At all relevant times to this Complaint, Nurse Seekford was responsible for

providing medical care to the inmates of HRRJ, including Mr. Hixson.

                                        15.

      Upon entering HRRJ, SHP personnel performed a medical screening of Mr.

Hixson and inquired as to whether Mr. Hixson was taking prescribed medication,

and Mr. Hixson told SHP personnel that he suffered from medically diagnosed

diabetes and as a result, he must take medication (including insulin) to treat his

serious diabetes.

                                        16.

      After Mr. Hixson told SHP personnel that he suffered from diabetes, and

that he had been prescribed insulin medication, Mr. Hixson provided SHP nurses

with information as to where to acquire his medical records from previous

medical providers.

                                        17.

      During Mr. Hixson’s entire stay at HRRJ, nurses Nurse Raynes and Nurse

Seekford knew Mr. Hixson required diabetes medication because nurses Nurse

Raynes and Nurse Seekford reviewed Mr. Hixson’s medical records, which

demonstrated that while at HRRJ, Mr. Hixson required prescribed diabetes

medication to treat his condition and also required a diabetic diet.



                                         7
  Case 5:18-cv-00001-MFU Document 1 Filed 01/03/18 Page 8 of 22 Pageid#: 8




                                          18.

      While Mr. Hixson was incarcerated at HRRJ, SHP nurses actually recorded

in Mr. Hixson’s records that Mr. Hixson was a Type 1 Diabetic.

                                          19.

      Nurse Raynes and Nurse Seekford took daily fasting blood sugar readings

from Mr. Hixson, and both read and recorded Hixson’s blood sugar levels on a

SHP form called the Blood Sugar Flow Sheet.

                                          20.

      The Blood Sugar Flow Sheet states at the top of the page that: blood sugar

tests check for conditions such as hypoglycemia (low blood sugar), pre-diabetes,

and diabetes; common tests include a fasting blood sugar which is no eating or

drinking for at least 8 hours prior to testing.

                                          21.

      The physician order/instructions at the top of Mr. Hixson’s Blood Sugar

Flow Sheet indicate that the SHP nurses, including Nurse Raynes and Nurse

Seekford, were to check Mr. Hixson’s Fasting Blood Sugar levels in the morning.

                                          22.

      Combined, Nurses Nurse Raynes and Nurse Seekford took blood sugar

readings from Mr. Hixson 150 times.




                                           8
  Case 5:18-cv-00001-MFU Document 1 Filed 01/03/18 Page 9 of 22 Pageid#: 9




                                       23.

      Of the 150 times Nurses Nurse Raynes and Nurse Seekford took blood

sugar readings from Mr. Hixson, 139 of those readings were recorded as taken at

04:30am.

                                       24.

      The Blood Sugar Flow Sheet states at the top of the page that: blood sugar

tests less than 110 is considered normal.

                                       25.

      Of the 150 times that Nurses Nurse Raynes and Nurse Seekford took blood

sugar readings, Mr. Hixson’s blood sugar test read less than 110 mg/dL only

three (3) times, meaning that Mr. Hixson’s blood sugar test read over 110 mg/DL

one hundred forty-seven (147) times as not normal.

                                       26.

      Mr. Hixson’s blood sugar levels were measured as being over 180 mg/dL

on 41 occasions, and actually measured as high as 407 mg/dL.

                                       27.

      Nurse Raynes had the authority to ensure medication was ordered to treat

Mr. Hixson’s medically diagnosed diabetes.




                                        9
Case 5:18-cv-00001-MFU Document 1 Filed 01/03/18 Page 10 of 22 Pageid#: 10




                                       28.

      Nurse Seekford had the authority to ensure medication was ordered to treat

Mr. Hixson’s medically diagnosed diabetes.

                                       29.

      Nurse Raynes had the authority to provide Mr. Hixson with some type of

medication to treat Mr. Hixson’s medically diagnosed diabetes.

                                       30.

      Nurse Seekford had the authority to provide Mr. Hixson with some type of

medication to treat Mr. Hixson’s medically diagnosed diabetes.

                                       31.

      Despite Mr. Hixson’s severely high blood sugar levels, Nurse Raynes

refused to provide Mr. Hixson with insulin to treat his medically diagnosed

diabetes.

                                       32.

      Despite Mr. Hixson’s severely high blood sugar levels, Nurse Seekford

refused to provide Mr. Hixson with insulin to treat his medically diagnosed

diabetes.

                                       33.

      Despite Mr. Hixson’s severely high blood sugar levels, Nurse Raynes

refused to order Mr. Hixson insulin to treat his medically diagnosed diabetes.



                                       10
Case 5:18-cv-00001-MFU Document 1 Filed 01/03/18 Page 11 of 22 Pageid#: 11




                                       34.

      Despite Mr. Hixson’s severely high blood sugar levels, Nurse Seekford

refused to order Mr. Hixson insulin to treat his medically diagnosed diabetes.

                                       35.

      Despite Mr. Hixson’s severely high blood sugar levels, Nurse Raynes

refused to order Mr. Hixson any medication to treat his medically diagnosed

diabetes.

                                       36.

      Despite Mr. Hixson’s severely high blood sugar levels, Nurse Seekford

refused to order Mr. Hixson any medication to treat his medically diagnosed

diabetes.

                                       37.

      Despite Mr. Hixson’s severely high blood sugar levels, Nurse Raynes

refused to provide Mr. Hixson with any medication that treats diabetes.

                                       38.

      Despite Mr. Hixson’s severely high blood sugar levels, Nurse Seekford

refused to provide Mr. Hixson with any medication that treats diabetes.

                                       39.

      As a professional nurse, Nurse Raynes knew the serious, life-threatening

risks of untreated diabetes and high blood sugar levels because she was trained to



                                       11
Case 5:18-cv-00001-MFU Document 1 Filed 01/03/18 Page 12 of 22 Pageid#: 12




know those risks prior to reading and understanding that Mr. Hixson suffered

from untreated diabetes and high blood sugar levels.

                                        40.

      As a professional nurse, Nurse Seekford knew the serious, life-threatening

risks of untreated diabetes and high blood sugar levels because she was trained to

know those risks prior to reading and understanding that Mr. Hixson suffered

from untreated diabetes and high blood sugar levels.

                                        41.

      As a professional nurse, Nurse Raynes knew the risks to Mr. Hixson in

particular if his diabetes went untreated because she was trained to know those

risks prior to reading and understanding that Mr. Hixson suffered from untreated

diabetes and high blood sugar levels.

                                        42.

      As a professional nurse, Nurse Seekford knew the risks to Mr. Hixson in

particular if his diabetes went untreated because she was trained to know those

risks prior to reading and understanding that Mr. Hixson suffered from untreated

diabetes and high blood sugar levels.

                                        43.

      As a medical professional, Nurse Raynes knew that extended periods of

high blood sugar levels could cause excruciating pain, as well as blurred vision,



                                        12
Case 5:18-cv-00001-MFU Document 1 Filed 01/03/18 Page 13 of 22 Pageid#: 13




ringing in the ears, and severe discomfort because Nurse Raynes received training

about the negative physical effects that occur from untreated diabetes, such as

pain, ringing of the ears, blurred vision, and discomfort.

                                        44.

      As a medical professional, Nurse Seekford knew that extended periods of

high blood sugar levels could cause excruciating pain, as well as blurred vision,

ringing in the ears, and severe discomfort because Nurse Seekford received

training about the negative physical effects that occur from untreated diabetes,

such as pain, ringing of the ears, blurred vision, and discomfort.

                                        45.

      As a medical professional, Nurse Raynes knew that extended periods of

high blood sugar levels cause damage to internal organs because Nurse Raynes

received training with respect to internal organ damage caused by untreated

diabetes.

                                        46.

      As a medical professional, Nurse Seekford knew that extended periods of

high blood sugar levels cause damage to internal organs because Nurse Seekford

received training with respect to internal organ damage caused by untreated

diabetes.




                                         13
Case 5:18-cv-00001-MFU Document 1 Filed 01/03/18 Page 14 of 22 Pageid#: 14




                                        47.

      During Mr. Hixson’s stay at HRRJ, Nurse Raynes repeatedly refused to

provide Mr. Hixson with his required, prescribed diabetes medications, including

insulin, despite the fact that Nurse Raynes had the authority to ensure Mr. Hixson

was ordered the prescription medication.

                                        48.

      During Mr. Hixson’s stay at HRRJ, Nurse Seekford repeatedly refused to

provide Mr. Hixson with his required, prescribed diabetes medications, including

insulin, despite the fact that Nurse Seekford had the authority to ensure Mr.

Hixson was ordered the prescription medication.

                                        49.

      By her repeated refusal to provide Mr. Hixson with any medication to treat

his diabetes (including Mr. Hixson’s required, prescribed diabetes medication),

Nurse Raynes allowed Mr. Hixson’s diabetes to go untreated.

                                        50.

      By her repeated refusal to provide Mr. Hixson with any medication to treat

his diabetes (including Mr. Hixson’s required, prescribed diabetes medication),

Nurse Seekford allowed Mr. Hixson’s diabetes to go untreated.




                                        14
Case 5:18-cv-00001-MFU Document 1 Filed 01/03/18 Page 15 of 22 Pageid#: 15




                                        51.

      As a result of Nurse Raynes and Nurse Seekford’s repeated refusal to

provide Mr. Hixson with any medication to treat his diabetes (including his

required, prescribed diabetes medication such as insulin), Mr. Hixson suffered

severe, excruciating pain throughout his feet, hands and legs, as well as

experiencing blurred vision and ringing in his ears for months.

                                        52.

      Mr. Hixson’s bodily functions were severely impaired due to Nurse

Raynes’s refusal to provide Mr. Hixson with insulin or any medication to treat

Hixson’s diabetic condition.

                                        53.

      Mr. Hixson’s bodily functions were severely impaired due to Nurse

Seekford’s refusal to provide Mr. Hixson with insulin or any medication to treat

Hixson’s diabetic condition.

                                        54.

      Nurse Raynes refused to request that Dr. Moran, the HRRJ physician,

provide Mr. Hixson with any medication to treat Mr. Hixson’s diabetes.

                                        55.

      Nurse Seekford refused to request that Dr. Moran, the HRRJ physician,

provide Mr. Hixson with any medication to treat Mr. Hixson’s diabetes.



                                        15
Case 5:18-cv-00001-MFU Document 1 Filed 01/03/18 Page 16 of 22 Pageid#: 16




                                        56.

      On many occasions, Mr. Hixson made complaints to Nurse Raynes and

Nurse Seekford about the failure of Dr. Moran, nurses Nurse Raynes and Nurse

Seekford, and SHP to provide him with required insulin to treat his disability.

                                        57.

      Mr. Hixson told nurses Nurse Raynes and Nurse Seekford, about the

physical ailments he was suffering due to Nurse Raynes and Nurse Seekford’s

refusal to provide Mr. Hixson with any medication to treat his diabetes.

                                        58.

       Mr. Hixson’s complaints of severe pain and discomfort due to his

untreated diabetes were directly received by Nurse Raynes.

                                        59.

       Mr. Hixson’s complaints of severe pain and discomfort due to his

untreated diabetes were directly received by Nurse Seekford.

                                        60.

      As a result of being made aware of Mr. Hixson’s complaints, Nurse Raynes

knew that Mr. Hixson was regularly experiencing excruciating pain throughout

his feet, hands and legs, as well as experiencing blurred vision and ringing in his

ears for months.




                                        16
Case 5:18-cv-00001-MFU Document 1 Filed 01/03/18 Page 17 of 22 Pageid#: 17




                                        61.

      As a result of being made aware of Mr. Hixson’s complaints, Nurse

Seekford knew that Mr. Hixson was regularly experiencing excruciating pain

throughout his feet, hands and legs, as well as experiencing blurred vision and

ringing in his ears for months.

                                        62.

      In response to Mr. Hixson’s complaints about not receiving any medication

to treat his diabetes, Nurse Raynes threatened to place Mr. Hixson in segregation

if he continued to request medication to treat his diabetes.

                                        63.

      Nurse Seekford was made aware that Nurse Raynes threatened to place Mr.

Hixson in segregation if he continued to request medication to treat his diabetes.

                                        64.

      Nurse Raynes was not disciplined for threatening to place Mr. Hixson in

segregation if he continued to request medication to treat his diabetes.

                                        65.

      Nurse Seekford approved Nurse Raynes’s threats to place Mr. Hixson in

segregation if he continued to request medication to treat his diabetes.




                                         17
 Case 5:18-cv-00001-MFU Document 1 Filed 01/03/18 Page 18 of 22 Pageid#: 18




                                         66.

      In fear for his physical wellbeing and his life, Mr. Hixson continued to

complain that he needed to receive his insulin to treat his diabetes.

                                         67.

      In response to Hixson’s continued complaints, nurses Nurse Raynes tried to

have the deputies put Mr. Hixson in segregation to punish him for requesting

treatment of his diagnosed, serious medical condition and disability. After that,

and after having requested diabetic medication for months, Hixson stopped

requesting medication in fear of his life.

                                         68.

      Nurse Seekford was made aware that Nurse Raynes tried to have deputies

place Mr. Hixson in segregation for complaining that he was not being given

medication to treat his diabetes.

                                         69.

      Nurse Raynes was not disciplined for trying to have deputies place Mr.

Hixson in segregation for complaining that he was not being given medication to

treat his diabetes.




                                         18
Case 5:18-cv-00001-MFU Document 1 Filed 01/03/18 Page 19 of 22 Pageid#: 19




                                        70.

      Nurse Seekford approved Nurse Raynes’s attempts to have deputies place

Mr. Hixson in segregation for complaining that he was not being given

medication to treat his diabetes.

                                        71.

      As a result of Nurse Raynes’s total failure and refusal to provide diabetic

medication to Mr. Hixson, a known diabetic, Mr. Hixson was severely and

seriously injured, was put in fear of death, suffered extreme pain throughout his

feet, hands and legs, suffered prolonged blurred vision and ringing in his ears,

suffered damage to his internal organs, and lives in fear of a shortened life span

as a result of damage to his internal organs.

                                        72.

      As a result of Nurse Seekford’s total failure and refusal to provide diabetic

medication to Mr. Hixson, a known diabetic, Mr. Hixson was severely and

seriously injured, was put in fear of death, suffered extreme pain throughout his

feet, hands and legs, suffered prolonged blurred vision and ringing in his ears,

suffered damage to his internal organs, and lives in fear of a shortened life span

as a result of damage to his internal organs.




                                         19
Case 5:18-cv-00001-MFU Document 1 Filed 01/03/18 Page 20 of 22 Pageid#: 20




                                      COUNT I
      VIOLATION OF MR. HIXSON’S EIGHTH AMENDMENT RIGHTS
                          PURSUANT TO 42 U.S.C § 1983
 (Federal claim against Nurse Raynes and Nurse Seekford, in their individual capacities)

                                          73.

      Plaintiff fully incorporates paragraphs 1 through 72, and any paragraph this

Court deems relevant, as fully stated herein to support Plaintiff’s Count I.

                                          74.

      Based on the incorporated paragraphs to support this Count I, Defendants

Nurse Raynes and Nurse Seekford violated Mr. Hixson’s right to be free from

deliberate indifference to his known serious medical need for diabetic medication

(prescription or otherwise) to treat his known, medically diagnosed condition of

diabetes, and said right was clearly established at the time Defendants Nurse

Raynes and Nurse Seekford deliberately failed to provide Mr. Hixson with any

medication at all to deal with Mr. Hixson’s known severe diabetic condition.

Consequently, Mr. Hixson is entitled to all damages permissible under controlling

law, as well as attorney fees and cost regarding this lawsuit.

                                     COUNT II
                            MEDICAL MALPRACTICE
  (State claim against Nurse Raynes and Nurse Seekford, in their individual capacities)

                                          75.

      Plaintiff fully incorporates paragraphs 1 through 72, and any paragraph this

Court deems relevant, as full stated herein to support Plaintiff’s Count II.


                                          20
Case 5:18-cv-00001-MFU Document 1 Filed 01/03/18 Page 21 of 22 Pageid#: 21




                                         76.

      Based on all the incorporated facts to support this Count II, as health care

providers, by refusing to treat Mr. Hixson’s known, serious medical condition,

Defendants Raynes and Seekford breached all duties of care owed to Mr. Hixson

regarding his health and wellbeing, utterly neglected Mr. Hixson’s safety, and

acted with reckless indifference to the consequences that their actions would

cause Mr. Hixson serious injury. Mr. Hixson is entitled to all damages permissible

under controlling law.

                                      COUNT III
                              PUNITIVE DAMAGES
                         (Against all Defendants individually)

      Based on the facts alleged in this complaint, Plaintiff is entitled to punitive

damages, under all applicable laws, because Defendants acted with a willful and

conscience indifference to the laws that protect Mr. Hixson.

                                   COUNT IV
                                 ATTORNEY FEES

      Based on the facts alleged in this Complaint, Mr. Hixson is entitled to

attorney fees, under all applicable laws.

      WHEREFORE, Mr. Hixson prays for a trial by jury of twelve and judgment

against Defendants as follows:

      (a) That process issue and service be had on each Defendant;




                                            21
Case 5:18-cv-00001-MFU Document 1 Filed 01/03/18 Page 22 of 22 Pageid#: 22




    (b) That judgment be granted in favor of the Plaintiff against the

       Defendants, jointly and severally, for the injuries of Plaintiff;

    (c) That Plaintiff recover compensatory damages including pain and

       suffering, lost income and future lost income, and other expenses in an

       amount to be determined at trial, including attorney fees;

    (d) Plaintiff be awarded damages for his loss earnings and reduction in his

       earning capacity from Defendants;

    (e) That Plaintiff recover costs of this litigation;

    (f) That a jury trial be had on all issues so triable;

    (g) Plaintiff have Judgment against Defendant for punitive damages; and

    (h) That Plaintiff receives such other and further relief as the Court deems

       just and proper.

    Respectfully submitted on this 3rd day of January 2018,

                                              /s/ MARIO B. WILLIAMS
                                              Mario B. Williams (VSB #91955)

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                                         22
